                           Case 6:24-bk-03843-LVV          Doc 41   Filed 10/08/24      Page 1 of 2
[Dntchrg] [District Notice of Hearing (Reaf)]
                                                UNITED STATES BANKRUPTCY COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                        ORLANDO DIVISION



In re:                                                                        Case Number:
                                                                              6:24−bk−03843−LVV
                                                                              Chapter 7

Chaim Levilev




                          Debtor*                     /

                                                      NOTICE OF HEARING


           PLEASE TAKE NOTICE:

           1. The Honorable Lori V. Vaughan will conduct a non−evidentiary hearing on November 12, 2024
           at 11:00 AM in Courtroom 6C, 6th Floor, George C. Young Courthouse, 400 West Washington
           Street, Orlando, FL 32801 to consider the following:

 Motion For Sanctions for Violation of the Automatic Stay under 11 U.S.C. Sec. 362(k) Against Joseph (Yossi)
        Levilev, Sara (Suri) Levilev, and Their Atoorney David W. Berenthal by Debtor (Doc. No. 37)


           2. All parties must attend the hearing in person. Remote appearances are only permitted in limited
           circumstances as set forth in Judge Vaughan's Hearing Guidelines available at
           https://www.flmb.uscourts.gov/judges/vaughan/.

           3. A party that opposes the relief sought in the matter to be heard must appear at the hearing;
           otherwise, any objection or defense may be deemed waived.
           4. The Court may continue this matter upon announcement made in open court and reflected on the
           docket without further written notice.

           Avoid delays at Courthouse security checkpoints. You must show a photo I.D. to enter the
           Courthouse. Except in the Orlando Courthouse, you may not bring a cell phone or a computer into
           the Courthouse unless you are an attorney with a valid Florida Bar identification card or a pro hac
           vice order, or the presiding judge has entered a specific order authorizing you to bring your cell
           phone or computer into the Courthouse. See Rule 7.02 of the Local Rules of the United States District
           Court for the Middle District of Florida and Rule 5073−1 of this Court's Local Rules.

           Dated October 8, 2024

                                                                                                 FOR THE COURT
                                                                                                  Sheryl L. Loesch,
                                                                                                     Clerk of Court
                                                                                 George C. Young Federal Courthouse
                                                                                         400 West Washington Street
                                                                                                         Suite 5100
                                                                                                 Orlando, FL 32801
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*All references to "Debtor" include and refer to both the debtors in a case filed jointly by two individuals.
The Clerk's office is directed to serve a copy of this Notice on interested parties.
